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                        Exhibit C
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


 LONE STAR TECHNOLOGICAL
 INNOVATIONS, LLC,                          Civil Action No. 6:19-CV-00059-RWS

               Plaintiff,                                LEAD CASE

       v.

 ASUSTEK COMPUTER INC.,

               Defendant.

            DEFENDANT ASUSTEK COMPUTER INC.’S TRIAL WITNESS LIST
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   Defendant ASUSTeK Computer Inc., pursuant to the Court’s October 6, 2020 Second Amended

   Docket Control Order, hereby submits its Trial Witness List for those issues on which Defendant

   does not bear the burden of proof. Defendant reserves the right to rely on any witnesses

   identified by Plaintiff. For sake of convenience, this list includes the witnesses identified by

   Defendant to Plaintiff on March 23, 2021.




                                                                     WILL          MAY MAY, BUT
                                                                     CALL          CALL PROBABLY
          WITNESS, employer, topic of testimony                                         WILL NOT
    1.    Mr. Alvin Lin, ASUSTeK Computer Inc,                      X
          Development/Operation of ASUS Products

    2.   Mr. James Lee, ASUSTeK Computer Inc, Marketing of X
         ASUS Products
    3.    Mr. Jaime Morquecho, ASUS Computer International, X
          Sales

    4.   Dr. Robert Louis Stevenson, University of Notre            X
         Dame, Expert on Invalidity

    5.   Mr. Brett L. Reed, Competition Economics LLC,              X
         Expert on Damages.




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 Dated: April 6, 2021              Respectfully submitted,


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                                         ASUSTeK Computer Inc.




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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 6, 2021, I emailed the foregoing document on the following

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                                                                    /s/ Michael C. Ting
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